Case 2:99-cv-02815-.]DB-STA Document 195 Filed 08/02/05 Page 1 of 3 Page|D 294

lN THE UNiTED STATES DlSTR|CT COURT H|.£D BY
FOR THE WESTERN DlSTRlCT OF TENNESSEE *""
WESTERN DlVlSlON

D.C.

05 AUG -2 P 2= 30
DANNY L. oEAToN,

Plaintl'ff,

 

VS. CASE NO. 99-CV-2815-B

LIEUTENANT CORNELL DYE,
OFF|CEFI JOSEPH N. JOHNSON,
OFFICER M|CHAEL SPEAR|V|AN,
and OFF|CER KAM WONG,

Defendants.

 

JUDG|V|ENT ON JURY VERD|CT

 

This action came on for trial before the Court and jury, the Honorable J. Daniel Breen, United States
DistrictJudge, presiding, and the issues having been du|ytried and the jury having duly rendered its verdict

on July21, 2005.

At the conclusion of the Plaintiff’s proof, the Court dismissed the following claims against these
defendants:
Claims Dismissed as to l\/|ichael Spearman: Excessive Force and Unlawful Search/Arrest under the 4‘"
Amendment; Trespass; False Arrest/lmprisonment; Assau|t/Battery; Outrageous Conduct.
C|aims Dismissed as to Lt. Cornell Dve: Excessive Force and Unlawfu| Search/Arrest under the 4‘“
Amendment; Trespass; False Arrest/lmprisonment; Assault/Battery; Outrageous Conduct.

C|aims Dismissed as to Kam Wonq: Excessive Force under the 4"‘ Amendment; Assault/Battery.

Additiona||y, the P|aintiff Wlthdrew the following claims as to these defendants:
Claims Withdrawn as to Miohael Soearman: Conspiracy; Libe|; lntentiona| l\/|isrepresentation.
Claims Withdrawn as to Lt. Cornell Dve: Conspiracy; Libel; intentional l\/lisrepresentation.
Claims Withdrawn as to Kam Wonq: Trespass; False Arrest/|mprisonment; Conspiracy; Libel; intentional
l\/Iisrepresentation.

Claims Withdrawn as to JoseDh Johnson: Conspiracy; Libe|; lntentiona| l\/|isrepresentation.

This document entered on the docket sheet in compliance
/ .
Wlth Ftule 58 and/or 79(a) FRCP on 3 05

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On the remaining claims against the defendants, the jury found as folioWs:

as to the 14“‘ Amendment lViedica| Needs ciaim, the jury found in favor of the defendant, i\/iichaei Spearman;
as to the 14‘“ Amendment i\/iedicai Needs ciaim, the jury found in favor of the defendant, Lt. Cornel| Dye;
as to the 14"‘ Amendment iViedicai Needs claim, and the Outrageous Conduct claim, the jury found in favor
of the defendant, Kam Wong. The jury found for the plaintiff on the illegal Search/Arrest under the 4"‘
Amendment claim and assessed $10,000 in compensatory damages against defendant Kam Wong;

as to the 14“‘ Amendment i\/iedicai Needs olaim, thejury found in favor of the defendant, Joseph Johnson.
The jury found in favor of the plaintiff on the illegal Search/Arrest under the 4“1 Amendment claim and
assessed $10,000 in compensatory damages against defendant Joseph Johnson. The jury Was unable to
reach a unanimous verdict as to the claims of Assauit/Battery, Outrageous Conduct and punitive damages,
as to defendant, Joseph Johnson. Therefore as to these claims against defendant, Johnson, the Court

declared a mistriai.

it is hereby OFtDERED AND ADJUDGED that based upon the verdict of the jury, plaintiff Danny L.
Deaton is to recover damages of $10,000.00 from defendant, Kam Wong and $10,000.00 from defendant,
Joseph Johnson. The plaintiff is to recover nothing from the defendants i\/iichae| Spearman and Lt. Comeli

Dye.
APPROVED:

§>aa

DN|EL BREEN
UN|TED STATES DISTR|CT JUDGE

_ ‘t`\
Dated at i\/lemphis, Tennessee, this lai dayofJuly,2005.

 

CLERK OF THE COURT

 

(By) Deputy Cierk

   

UNITE`D STATS,E DISTRICT oURT WESTERNDTISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 195 in
case 2:99-CV-02815 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

